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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X   Index No.: 1: l 8-cv-07873-AKH
MICHAEL DIMAS ,

                                   Plaintiff,                      -[PR:8P08tie1 .
                                                                    JUDGMENT
                  -against-                                         GRANTING DEFAULT

 FRANCOIS PA YARD LLC,
 116 WEST HOUSTON STREET LLC,
 MAFP VENTURES LLC, FPB LLC,
 PIERRE FRAN<;OIS PAY ARD, individually,
 LAETITIA DROUBAY, individually, and
 JULIEN KHALAF, individually,

                                    Defendants.
 --------------------------------------------------------------X




        The Court, having granted default judgment with respect to liability against Defendants

MAFP Ventures LLC and Julien Khalaf, having read and considered Plaintiff MICHAEL DIMAS '

Notice of Motion, Memoranda of Law In Support of Plaintiffs Motion, the Declaration of Seamus

P. Barrett, Esq., all evidentiary exhibits attached thereto, the Declaration of Plaintiff Michael

Dimas and the Declaration of witness Desiree Baena,

NOW HEREBY grants Plaintiff Default Judgment against Defendants MAFP VENTURES LLC

and JULIEN KHALAF jointly and severally in the amount of $113,624.00 broken down as

follows:

Pecuniary damages for lost wages and back pay:                                           $62,700.00
Non-pecuniary damages for emotional distress:                                            $15,000.00
Punitive damages available for Plaintiffs claims arising under the NYCHRL:               $15,000.00
Attorney's fees, expenses and costs:                                                     $20,924.00
Total default judgment:                                                                  $113,624.00
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Thus, the total amount of default judgment jointly and severally against Defendants MAFP

Ventures LLC and Julien Khalaf, is $113,624.00

IT IS SO ORDERED


                                                 Q}Jc{~
                                                 HON.ALVINK~
                                                 UNITED ST A TES DISTRICT JUDGE




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